                Case 13-50530-MFW          Doc 289      Filed 08/21/13      Page 1 of 5




                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE


In re:
                                                            Chapter 11
ALLIED SYSTEMS HOLDINGS, INC., et al., †                    No. 12-11564 (CSS)
                                                            (Jointly Administered)
                Debtors.


ALLIED SYSTEMS HOLDINGS, INC.,

                Plaintiff,

                             v.

AMMC VIII, LIMITED, AVENUE CAPITAL
GROUP, BDCM OPPORTUNITY FUND II, LP,
BENNETT MANAGEMENT, BLACK DIAMOND
CLO 2005-1 LTD., DEL MAR DISTRESSED
OPPORTUNITIES MASTER FUND, MJX ASSET                        Adversary Proceeding
MANAGEMENT, LLC, PAR-FOUR                                   No. 12-50947 (CSS)
INVESTMENT MANAGEMENT, SPECTRUM
INVESTMENT PARTNERS LP, TEAK HILL
CREDIT CAPITAL INVESTMENTS, LLC, THE
CIT GROUP BUSINESS CREDIT, INC., THE
OFFICIAL COMMITTEE OF UNSECURED
CREDITORS, YUCAIPA AMERICAN ALLIANCE
FUND II, L.P., and YUCAIPA AMERICAN
ALLIANCE (PARALLEL) FUND II, L.P.,

                Defendants.




†
  The Debtors in these cases, along with their federal tax identification numbers (business numbers where
applicable), are: Allied Systems Holdings, Inc. (XX-XXXXXXX); Allied Automotive Group, Inc. (58-
2201081); Allied Freight Broker LLC (XX-XXXXXXX); Allied Systems (Canada) Company (XX-XXXXXXX);
Allied Systems, Ltd. (L.P.) (XX-XXXXXXX); Axis Areta, LLC (XX-XXXXXXX); Axis Canada Company
(87568828); Axis Group, Inc. (XX-XXXXXXX); Commercial Carriers, Inc. (XX-XXXXXXX); CT Services, Inc.
(XX-XXXXXXX); Cordin Transport LLC (XX-XXXXXXX); F.J. Boutell Driveaway LLC (XX-XXXXXXX); GACS
Incorporated (XX-XXXXXXX); Logistic Systems, LLC (XX-XXXXXXX); Logistic Technology, LLC (45-
4242057); QAT, Inc. (XX-XXXXXXX); RMX LLC (XX-XXXXXXX); Transport Support LLC (XX-XXXXXXX);
and Terminal Services LLC (XX-XXXXXXX).

01:13932540.1
                Case 13-50530-MFW       Doc 289    Filed 08/21/13     Page 2 of 5




THE OFFICIAL COMMITTEE OF UNSECURED
CREDITORS OF ALLIED SYSTEMS HOLDINGS,
INC., and its affiliated debtors,

                Plaintiff,

BLACK DIAMOND OPPORTUNITY FUND II, LP,
BLACK DIAMOND CLO 2005-1 LTD., and
SPECTRUM INVESTMENT PARTNERS, L.P.,

                Intervenors,
                                                       Adversary Proceeding
                             v.                        No. 13-50530 (CSS)

YUCAIPA AMERICAN ALLIANCE FUND I, L.P.,
YUCAIPA AMERICAN ALLIANCE (PARALLEL)
FUND I, L.P., YUCAIPA AMERICAN ALLIANCE
FUND II, L.P., YUCAIPA AMERICAN ALLIANCE
(PARALLEL) FUND II, L.P., MARK
GENDREGSKE, JOS OPDEWEEGH, JAMES
FRANK, DEREX WALKER, JEFF PELLETIER,
IRA TOCHNER, AND JOSEPH TOMCZAK,

                Defendants.


                                    NOTICE OF APPEAL

         Yucaipa American Alliance Fund II, L.P. and Yucaipa American Alliance (Parallel) Fund

II, L.P. (together, “Yucaipa Fund II”), along with Yucaipa American Alliance Fund I, L.P. and

Yucaipa American Alliance (Parallel) Fund I, L.P. (together, “Yucaipa Fund I” and collectively

with Yucaipa Fund II, “Yucaipa”), by and through their undersigned counsel, hereby appeal,

pursuant to 28 U.S.C. § 158(a) and Rule 8001(a) of the Federal Rules of Bankruptcy Procedure,

from the Order Granting Petitioning Creditors’ Motion for Summary Judgment Regarding the

Determination of Requisite Lenders Under the First Lien Credit Agreement [Docket Nos.

275/280] entered by the United States Bankruptcy Court for the District of Delaware in the

above-captioned adversary proceedings on August 7, 2013.



                                               2
01:13932540.1
                Case 13-50530-MFW        Doc 289       Filed 08/21/13     Page 3 of 5




         In accordance with Bankruptcy Rule 8001(a), the names of all parties to the order from

which this appeal is taken and the names, addresses and telephone numbers of their respective

counsel are as follows:

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                                                 3
01:13932540.1
                Case 13-50530-MFW    Doc 289       Filed 08/21/13    Page 4 of 5




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                                             4
01:13932540.1
                Case 13-50530-MFW    Doc 289     Filed 08/21/13     Page 5 of 5




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   Dated: August 21, 2013                      YOUNG CONAWAY STARGATT
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                                          5
01:13932540.1
